In Banc.
The respondents move to strike the bill of exceptions on the ground that it was not presented for allowance within the time prescribed by section 2-703, Oregon Code 1930, as amended by chapter 49, Laws, 1931, or within any extension thereof made within the time.
The record shows that the judgment on the verdict was rendered on April 20, 1934, but that it was not entered until April 21, the day following, and that the order extending the time for filing the bill of exceptions was signed by the judge on June 20 and filed and entered on the following day.
As amended, the statute provides that: "A proposed bill of exceptions may be tendered by presenting it to the clerk of the court within sixty (60) days after the entry of the judgment or decree, or within such further time as may be granted by order of the court if application is made during the said period of sixty (60) days or within any extension that may be granted." Under this statute, it is the day of the entry, not rendition, which controls. Under section 2-1506: "When judgment is given * * * it shall be entered within the day it is given." But section 2-1509 provides that "if it [the judgment] has been given in term time, it may be entered at any time during the term, of the day's proceedings on which it should have been entered". Frequently verdicts are rendered late at night and the judgment is not entered until the day following. *Page 142 
The statute authorizes the doing of this very thing. This judgment having been entered on April 21, that day must be excluded. There were then remaining nine days in April, thirty-one in May, and twenty days in June in which the order extending the time could be made. It having been made on June 20, it was within the time.
The motion is, therefore, denied.